                              EXHIBIT 4




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Date made
811312020 9:26:50 AM
Page 1    Dates between 11112018 and 811312020
Date made Qty made Formula / Generic name     Lot number                  Discard after date

5/8t2018 90 ML         MIDAZOLAM 50 MG/ML INJECTION                       5t5t2018


7/20t2018 55 ML        MIDAZOLATU 50 MG/ML INJECTION                      9t412018


9t21t2O18 60 ML        MTDAZOLAM 50 MG/ML tNJECT|ON SO1 21092018@4        11t5t2018


10125t2018 30 ML       MIDAZOLAM 50 MG/ML INJECTION                       121912018


11t16t2018 60 ML       MIDAZOLAM 50 MG/ML                                 12131t2018


411712019 60 ML        MIDAZOLAM 50 MG/ML I                               4t1812019


412412019 55 ML        MIDAZOLAM 50 MG/ML INJ                             5t1t2019


7115t2019 60 ML        MIDAZOLAM 50 MG/ML INJECTION                       7t22/2019


11t6t2019 85 ML        MIDAZOLAIV 50 MG/ML INJECTION                      11t9t2019


11t18t2019 85 ML       MIDAZOLAM 50 MG/ML INJECTION                       1112512019


1110t2020 85 ML        MIDAZOI-AM 50 MG/ML I                              1117t2020


711412020 85 ML        MIDAZOLAM 50 hIG/ML INJ                            8t14t2020




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Logs for a certain formula
811312020 9:24:36 AM
Page 1    Dates between 11112018 and 811312020
Date made Qty made Formula / Generic name     Lot number                  Discard after date
                                                                          Discard after date
8/5/2019 270 ML        POTASSIUM CHLORIDE 15%                             816t2019


11t6t2019 580 ML       POTASSIUM CHLORIDE 15%                             11t7t2019


1111112019 580 ML      POTASSIUM CHLORIDE 15%                             11t1212019


                       POTASSIUM CHLORIDE 15% INJECTIOI                   1111912019
1111812019 760 ML

11t27t2019 700 ML      POTASSIUM CHLORIDE 15% INJECTIOI                   11t28t2019


1t10t2020 700 ML       POTASSIUM CHLORIDE 15% INJECTIOI                   211112020



7t14t2020 700 ML       POTASSIUM CHLORIDE 15% INJECTIOI                   en4t2020




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